Case 1:21-cv-03264-CRC Document 1-8 Filed 12/13/21 Page 1 of 3




                EXHIBIT 8
               Case 1:21-cv-03264-CRC Document 1-8 Filed 12/13/21 Page 2 of 3


  From: Daniel Ward dan@wardberry.com
Subject: Fwd: Grassroots Analytics, LLC ("Grassroots")
   Date: December 13, 2021 at 9:00 AM
     To: Sarah Carr sarah@wardberry.com, Kerry McCarthy kerry@wardberry.com




       Daniel S. Ward
       WARD & BERRY, PLLC
       1751 Pinnacle Drive
       Suite 900
       Tysons, Virginia 22102
       (202) 331-8160
       www.wardberry.com
       ******************************************************************
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       ******************************************************************
       P Think Green! Please don't print this e-mail unless you need to.

       From: Kristina.Dahmann@icemiller.com <Kristina.Dahmann@icemiller.com>
       Sent: Monday, December 13, 2021 8:45:26 AM
       To: Daniel Ward <dan@wardberry.com>
       Subject: Grassroots Analytics, LLC ("Grassroots")

       Dan:

       Ice Miller LLP represents Tall Poppy LLC (“Tall Poppy”) with respect to the letter you sent
       to Eden Mckissick-Hawley on December 10, 2021.

       By way of a response to your demand, my client asked that I inform you that it does not
       possess any of the referenced Grassroots records, and consequently, it has no records
       that it can return to Grassroots.

       Should have any continued concerns, please contact me directly.

       With regards,
       Kristina




       Kristina Dahmann
       Kristina.Dahmann@icemiller.com
       p 614-462-2220 f 614-232-6858
       Case 1:21-cv-03264-CRC Document 1-8 Filed 12/13/21 Page 3 of 3


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c 571-224-8956

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250 West Street
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Columbus, OH 43215

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